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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                               :
                                                       :       No. 21cr 157 (TNM)
                                                       :
               v.                                      :       Closed Case
                                                       :
CHRISTIAN SECOR,                                       :
     Defendant.                                        :


                    MOTION TO AMEND PRESENTENCE REPORT (PSR)

       Christian Secor, by and through counsel, respectfully moves this Court to amend his

Presentence Investigation Report (“PSR”), pursuant to Federal Rule of Criminal Procedure 36.

Rule 36 states, “After giving any notice it considers appropriate, the court may at any time

correct a clerical error in a judgment, order, or other part of the record, or correct an error in the

record arising from oversight or omission.” Fed. R. Crim P. 36.

       In support of this motion, counsel states the following.

       1. On October 19, 2022, Christian Secor was sentenced by this Honorable Court to a term

of 42 months in the custody of the Bureau of Prisons (BOP).

       2. When the United States Probation Office prepared the PSR, the extent of Mr. Secor’s

alcohol abuse was omitted.

       3. However, after further interviews, it is now clear Mr. Secor’s pattern of alcohol use

was often excessive and problematic.

       4. Moreover, his drinking increased noticeably in the approximately 60 days between

November 3, 2020, and January 6, 2021, when the offense conduct occurred. In light of this

information, Mr. Secor could benefit from the Residential Drug and Alcohol Program (RDAP)

operated under the BOP.



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       5. However, Mr. Secor will not qualify for participation in RDAP unless ¶77 in the PSR

related to his alcohol use is updated.

       6. Mr. Secor, therefore, requests that the PSR be amended to accurately reflect his past

alcohol consumption and assist with his eligibility for BOP programming.

       7. The government takes no position on undersigned counsel’s request.

       8. Counsel respectfully requests that U.S. Probation conduct a virtual interview of Mr.

Secor and follow-up interviews so that ¶77 of the PSR accurately reflects his history of

excessive drinking, particularly in pled guilty.

       9. Denial and minimization are familiar parts of alcohol abuse. Mr. Secor’s PSR omits

the full degree and history of his alcohol use and the need for treatment. If this omission is not

clarified or corrected, Mr. Secor will be unable to obtain the proper ‘correctional treatment’

offered through BOP programming.

       10. In its informational materials, the Bureau of Prisons describes the RDAP program as

follows:

               The residential drug treatment program is a unit-based program

               that affords inmates up to 500 hours of treatment, focusing on

               individual responsibility and changing future behavior. The goal

               of the program is to attempt to identify, confront, and alter the

               attitudes, values, and thinking patterns that led to criminal behavior

               and drug or alcohol use.

       11. In Mr. Secor’s case, the prevalence of heavy drinking in social settings with other

college students may have desensitized him to the seriousness of his escalating alcohol abuse.

Additionally, Mr. Secor’s perception of therapy was an additional impediment to seeking a



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solution to his alcohol problem. However, the RDAP program’s focus on attempting to

“identify, confront, and alter the attitudes, values, and thinking patterns that led to criminal

behavior and drug or alcohol use” would benefit Mr. Secor.

       12. Accordingly, Christian Secor respectfully moves this Court pursuant to Fed. R. Crim

P. 36, to amend the single paragraph in ¶77 of PSR as outlined above and that forward the

updated PSR to the BOP.



                                                               Respectfully submitted,

                                                               /s/Brandi Harden
                                                               Brandi Harden
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                                CERTIFICATE OF SERVICE

       I hereby certify that on Monday, April 18, 2023, a copy of the foregoing was served on

all parties of record via CM/ECF.

                                                        /s/ Brandi Harden
                                                  _____________________________
                                                        Brandi Harden




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